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AFFIDAVIT IN SUPPORT OF APPLICATION FOR
CRIMNAL COMPLAINT AND ARREST WARRANT

I, Nishith Bhatnagar, Special Agent, Naval Criminal Investigative Service (NCIS),
Yorktown, Virginia, being duly sworn, state the following:

1. I am a Special Agent with the NCIS, where I have worked since February 2001.
Prior to joining NCIS, I was active duty US Army for nine years. | was a Special Agent with the
US Army Criminal Investigation Division Command (USACIDC) for the last four years of my
active duty that ended in January 2001. I graduated from the University of Southern Maine in
1995 with a Bachelor of Science in Business Administration. I am currently assigned to Resident
Agency Yorktown. I am an “investigative or law enforcement officer of the United States” within
the meaning of Title 18, United States Code Section 2510(7). That is, I am an officer of the
United States, who is empowered by law to conduct investigations regarding violations of United
States law, to execute warrants issued under the authority of the United States, and to make arrest
of the offenses enumerated in the United States code. I am primarily responsible for investigating
crimes which include but are not limited to fraud and other economic crimes. Over the course of
my law enforcement career I have led, participated in, or managed numerous cases involving the
violations of several federal statutes to include wire fraud, bank fraud, money laundering, and
identity theft. I have personally been the affiant of and have participated in the execution of a
numerous criminal complaints.

2. Based upon my training, experience, and discussions with other law enforcement
officers, I have probable cause to believe that TREQUAN M. SMITH, the defendant herein,
committed the following offense in violation of federal law: witness tampering by force and
threat of physical force, in violation of Title 18, United States Code, Section 1512(a)(2)(C), and

obstruction of justice, in violation of Title 18, United States Code, Section 1503.
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PROBABLE CAUSE IN SUPPORT OF
CRIMINAL COMPLAINT AND ARREST WARRANT

The defendant and COCONSPIRATOR 1:

 

3. At all times relevant, TREQUAN M. SMITH, the defendant herein, has been a
resident of Hampton, Virginia, in the Eastern District of Virginia.

4. The defendant formerly resided with his wife, COCONSPIRATOR 1, who is
several months pregnant with their first child.

The federal criminal investigation:

5. Since on or about April 2021, the defendant, COCONSPIRATOR 1, and several
others have been targets of a federal criminal investigation into whether they knowingly and
willfully joined together to execute a scheme and artifice to defraud and to obtain money, funds,
credits, assets, securities, and other property owned by and under the custody and control of
Navy Federal Credit Union by means of materially false and fraudulent pretenses,
representations, and promises.

6. On or about July 16, 2021, I served COCONSPIRATOR | with a target letter,
which indicated that COCONSPIRATOR | was the target of a federal criminal investigation
involving violations of federal law, including conspiracy to commit bank fraud and bank fraud —
in violation of Title 18, United States Code, Sections 1349 and 1344, respectively.

7. The target letter expressly warned that the government was “preparing a case to
present to the Grand Jury” and that “destruction, alteration, or withholding of any record,
document or other object required to be produced before the Grand Jury constitutes a serious
violation of federal law, including, but not limited to, obstruction of justice.”

8. Shortly after being served by the target letter, COCONSPIRATOR 1| and the
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defendant retained attorneys to represent them in connection with the pending criminal
investigation.

9. Although I served COCONSPIRATOR 1, the defendant also came to know he
was a target of the pending criminal investigation because his counsel inquired if he could
represent COCONSPIRATOR 1 and the defendant. He was advised that he could not because
both were targets of the government’s criminal investigation.

COCONSPIRATOR 1’s cooperation in the government’s investigation

10. On or about July 20, 2021, COCONSPIRATOR | contacted the government
through counsel and indicated an interest in proactively cooperating against the defendant and
others in the government’s criminal investigation.

11. As part of her cooperation, COCONSPIRATOR I| recorded the defendant
engaging in conduct in furtherance of the bank fraud conspiracy, including the defendant
defrauding and attempting to defraud account holders at Navy Federal Credit Union.

12. Onor about July 29, 2021, COCONSPIRATOR 1| was interviewed by the
investigative team at the U.S. Attorney’s Office in Newport News, Virginia.
COCONSPIRATOR 1 provided detailed testimony regarding bank fraud conspiracy, including
about the defendant and others’ roles in the scheme and artifice to defraud.

The defendant’s witness tampering by force and threat of force

13. While COCONSPIRATOR | was debriefing with law enforcement, the defendant
tracked COCONSPIRATOR 17s vehicle to the vicinity of *** Lakefront Commons in Newport
News, Virginia. The defendant determined this was the U.S. Attorney’s Office and surmised that
COCONSPIRATOR | was cooperating as part of the government’s criminal investigation.

14. Onor about the early morning hours of July 30, 2021, the defendant confronted

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COCONSPIRATOR | about cooperating in the criminal investigation.

15. The confrontation escalated into a violent altercation while COCONSPIRATOR 1
was in the passenger seat of the defendant’s vehicle. The defendant slammed on the brakes,
punched COCONSPIRATOR 1 in the head, slammed COCONSPIRATOR I’s head into the
passenger window, partially pulled COCONSPIRATOR’s hair weave out, and choked
COCONSPIRATOR | with both hands.

16. | Onor about July 30, 2021, members of the investigative team interviewed
COCONSPIRATOR 1 who relayed the above information. Investigators photographed injuries
consistent with COCONSPIRATOR 1’s story, including a split lower lip, a damaged artificial
hair weave, and a minor thumb laceration.

17, On or about August 1, 2021, COCONSPIRATOR 1 sent members of the
investigative team a picture documenting bruising below COCONSPIRATOR 1’s left eye, which
COCONSPIRATOR 1 also attributed to the defendant’s attack.

The defendant’s continued obstruction of justice

18. Onor about August 1, 2021, the defendant posed as an invented law enforcement
officer named “Robert Peach” and contacted COCONSPIRATOR | using the assigned cellular
telephone number (830) ***-6269,

19. The defendant told COCONSPIRATOR 1 that he needed to “meet up with the US
attorney and you” in order to “take a urine test to prove your pregnant and a drug test.” He
further represented that if you “cooperate and be honest you will be on home arrest with
probation.”

20. The defendant then asked COCONSPIRATOR | to confirm the names of the
other individuals COCONSPIRATOR | had implicated in the bank fraud conspiracy. Believing

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the defendant to be a member of the investigative team, COCONSPIRATOR | provided the
defendant with this sensitive information, which revealed confidential aspects about the scope of
the government’s pending criminal investigation.

21. Later on or about August 1, 2021, the defendant again contacted
COCONSPIRATOR | and bragged that he had tricked her into providing this sensitive
information about the government’s criminal investigation.

22. __ I have personally reviewed text messages between COCONSPIRATOR 1 and the
assigned cellular telephone number (830) ***-6269 that further corroborate the defendant's
actions on or about August I, 2021.

23. This affidavit contains only enough information to establish probable cause and
does not contain all the facts or information known to members of the investigative team.

WHEREFORE, based upon the above information, your Affiant believes probable
cause exists to charge TREQUAN M. SMITH, with committing the following offenses in violation
of federal law: witness tampering by force and threat of physical force, in violation of Title 18,
United States Code, Section 1512(a)(2)(C), and obstruction of justice, in violation of Title 18,

United States Code, Section 1503.

: nb
Nishith Bhatnagar? J

Special Agent
Naval Criminal Investigative Service

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Read and Approved:

tl oe (—

D. Mack Cdleman
Assistant United States Attorneys

Sworn and subscribed to me
On this 5th day of August 2021

 

J

Douglas E. Miller

United States Magistrate Judge
Norfolk, Virginia
